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                                  5                          IN THE UNITED STATES DISTRICT COURT
                                  6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  7
                                         IN RE: UBER TECHNOLOGIES, INC.,
                                  8                                                       MDL No. 3084
                                         PASSENGER SEXUAL ASSAULT
                                  9      LITIGATION
                                         _________________________________/
                                  10                                                      PRETRIAL ORDER NO. 21:
                                         This Order Relates To:                           BELLWETHER SELECTION
                                  11                                                      PROCESS AND SCHEDULING
                                                                                          ORDER
Northern District of California




                                  12     All Actions
 United States District Court




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                                              At a Case Management Conference on November 6, 2024, the Court ordered the
                                  15
                                       parties to file a joint statement of their views on the bellwether selection process. The
                                  16
                                       parties submitted that joint statement on December 4, 2024, offering competing proposals
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                                       for the selection process and accompanying schedule. Dkt. 1934. Having carefully
                                  18
                                       considered the parties’ proposals, the Court establishes the following procedures and
                                  19
                                       schedule.
                                  20
                                              1. Bellwether Eligibility
                                  21
                                              The parties offer opposite answers for the question of which cases should be
                                  22
                                       eligible for selection as bellwethers: Plaintiffs would only include those cases that do not
                                  23
                                       have a Lexecon issue (i.e., either be filed in the Northern District of California originally,
                                  24
                                       or have indicated in their short form or amended short form complaint that they would
                                  25
                                       have filed in the Northern District of California in the absence of direct filing) and have
                                  26
                                       completed their Plaintiff and Defense Fact Sheet exchanges. Uber, on the other hand,
                                  27
                                       believes neither factor should be used as an eligibility filter.
                                  28
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                                  1           The Court agrees with Plaintiffs. The Court’s goal in managing the bellwether
                                  2    process is to efficiently bring representative cases to trial. Including cases in the
                                  3    bellwether process that this Court is unlikely to have jurisdiction over does not advance
                                  4    that goal. Regarding fact sheet exchanges, Uber has provided no compelling reason to
                                  5    delay the selection of cases until more fact sheets have been exchanged, or to believe that
                                  6    the 1,031 cases for which Plaintiff Fact Sheets have been submitted somehow misrepresent
                                  7    the full roster of cases in the MDL.
                                  8           Therefore, the Court adopts Plaintiffs’ proposal: to be eligible for selection, a case
                                  9    must, as of January 31, 2025, (1) not have a Lexecon issue, as described above; and (2)
                                  10   have completed their Plaintiff and Defense Fact Sheet exchanges.
                                  11          2. Bellwether Selection Process
                                              The parties propose two very different procedures for selecting bellwether cases.
Northern District of California




                                  12
 United States District Court




                                  13   Uber proposes randomly selecting 50 cases for an initial “bellwether pool” in January
                                  14   2025. The cases in that pool would engage in limited discovery until June 1, 2025, when
                                  15   the parties would each propose 10 cases for selection as bellwether cases. Plaintiffs
                                  16   propose a simpler plan which strips out the additional period of discovery and has the
                                  17   parties each file a list of 10 Plaintiffs for inclusion as bellwether cases in February, which
                                  18   would then be subject to a striking procedure of up to four cases per side.
                                  19          Given the fact sheet exchange eligibility requirement, the Court sees no need for an
                                  20   extended period of targeted discovery before bellwether selection. Nor does the Court see
                                  21   a need for a striking procedure. Instead, by February 14, 2025, the parties will each select
                                  22   ten Plaintiffs to be included in the bellwether process. In the event that a proposed
                                  23   Plaintiff refuses to participate as a bellwether, the Defendant may select a substitute
                                  24   Plaintiff. The “refusing Plaintiff” will be subject to a motion to dismiss for failure to
                                  25   prosecute.
                                  26          3. Amended Complaints
                                  27          The twenty Bellwether Plaintiffs will file amended complaints by March 14, 2025.
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                                  1           4. Multi-Plaintiff Waves
                                  2           The parties also diverge on whether the Bellwether cases should proceed through
                                  3    discovery and trial individually or grouped in waves. Plaintiffs prefer a wave structure,
                                  4    while Uber argues it will be prejudiced by multi-plaintiff trials and proposes that trial
                                  5    selections should be made sometime in the summer or fall. Both parties ask for an
                                  6    opportunity to brief the issue, if the Court disagrees with their position.
                                  7           For the purposes of discovery, all Bellwether Cases shall have the same deadlines.
                                  8    But for trial, the parties may submit letter briefs by April 1, 2025, on whether the
                                  9    Bellwether Cases should be tried individually or consolidated in some manner.
                                  10          5. Discovery and Trial Schedule for Bellwether Cases
                                  11                 a. Case specific discovery will open for Bellwether Cases on March 14,
                                                         2025.
Northern District of California




                                  12
 United States District Court




                                  13                 b. By April 15, 2025, Uber shall file its Rule 12 motions against the
                                  14                     amended complaints. Bellwether Plaintiffs shall file their oppositions by
                                  15                     May 15, 2025. Uber shall file any replies in support by June 2, 2025.
                                  16                 c. Fact discovery will be substantially complete by June 16, 2025.
                                  17                 d. By July 3, 2025, the parties shall submit letter briefs identifying the order
                                  18                     in which the Bellwether Cases should be tried, including wave
                                  19                     assignments if the Court orders waves to be formed.
                                  20                 e. The parties shall exchange expert reports by August 8, 2025. The parties
                                  21                     shall exchange rebuttal expert reports by September 8, 2025.
                                  22                 f. Discovery will close on September 22, 2025.
                                  23                 g. The parties shall file any Daubert or dispositive motions by October 8,
                                  24                     2025. The parties shall file oppositions to any Daubert and dispositive
                                  25                     motions by November 11, 2025. The parties shall file replies in support
                                  26                     of any Daubert and dispositive motions by November 24, 2025.
                                  27                 h. The final pretrial conference for the first bellwether trial will be held on
                                  28                     December 1, 2025.
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                                  1                    i. The first bellwether trial will begin December 8, 2025.
                                  2          6. Table of Dates
                                  3
                                  4                        Deadline                                          Event
                                  5
                                                                                         Parties shall submit their selections for
                                  6     February 14, 2025
                                                                                         Bellwether Cases
                                  7                                                      Bellwether Plaintiffs shall submit amended
                                        March 14, 2025
                                  8                                                      complaints

                                  9                                                      Case-specific discovery opens for the
                                                                                         Bellwether Cases
                                  10
                                        April 1, 2025                                    Parties shall submit letter briefs on whether
                                  11                                                     the Bellwether Cases should be tried
                                                                                         individually or in waves
Northern District of California




                                  12
 United States District Court




                                  13    April 15, 2025                                   Rule 12 motions to dismiss amended
                                                                                         complaints
                                  14
                                                                                         Oppositions to Rule 12 motions to dismiss
                                  15    May 15, 2025
                                                                                         amended complaints
                                  16
                                                                                         Replies in support of Rule 12 motions to
                                  17    June 2, 2025
                                                                                         dismiss amended complaints
                                  18                                                     Substantial completion of fact discovery
                                        June 16, 2025
                                  19
                                                                                         Parties shall submit letter briefs identifying
                                  20    July 3, 2025
                                                                                         the order in which the Bellwether Cases
                                  21                                                     should be tried, including wave
                                                                                         assignments if the Court orders waves to
                                  22                                                     be formed
                                  23
                                                                                         Parties shall exchange expert reports
                                        August 8, 2025
                                  24
                                  25                                                     Parties shall exchange rebuttal expert
                                        September 8, 2025
                                                                                         reports
                                  26
                                                                                         Close of discovery
                                  27    September 22, 2025
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                                  1                                              Daubert and dispositive motions
                                        October 8, 2025
                                  2
                                                                                 Oppositions to Daubert and dispositive
                                  3     November 11, 2025
                                                                                 motions
                                  4                                              Replies to Daubert and dispositive motions
                                        November 24, 2025
                                  5
                                  6                                              Final pretrial conferences for first trial
                                        December 1, 2025
                                  7
                                                                                 First Bellwether Trial
                                        December 8, 2025
                                  8
                                  9
                                  10         IT IS SO ORDERED.

                                  11         Dated: December 12, 2024
                                                                                  CHARLES R. BREYER
                                                                                  United States District Judge
Northern District of California




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 United States District Court




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